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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOSEPH KOPROWSKI,
                               Plaintiff,
                                                                         ORDER
                       – against –
                                                                    15 Civ. 5984 (ER)
LONG ISLAND RAILROAD COMPANY,

                               Defendant.


Ramos, D.J.:

         Plaintiﬀ ﬁled the complaint in the instant action on July 30, 2015. Doc. 1. On August 27,

2015, the defendant ﬁled an answer to the complaint. Doc. 6. �e parties submitted a joint status

report on October 25, 2019 indicating that they anticipated completing fact discovery by the end

of January 2020 and expert discovery by the end of February 2020. Doc. 8. Since then there has

been no further activity in this case.

         �e parties are hereby directed to submit a joint status report by no later than November

20, 2020.



It is SO ORDERED.

Dated:      November 6, 2020
            New York, New York

                                                             EDGARDO RAMOS, U.S.D.J.
